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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:06CR3030
           v.                        )
                                     )
MANUEL ESCOBEDO PONCE,               )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion to file pretrial motions out of time,
filing 22, is granted and defendant may file pretrial motions on
or before April 17, 2006.

     DATED this 11th day of April, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
